               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                         CRIMINAL CASE NO. 2:07cr2-3


UNITED STATES OF AMERICA,                   )
                                            )
                                            )
                   vs.                      )            ORDER
                                            )
                                            )
GREGORY MICHAEL McMAHAN.                    )
                                            )

      THIS MATTER is before the Court1 on the Defendant’s letter filed on

April 4, 2012, which the Court construes as a motion to waive or postpone the

restitution payments that he is required to make through the Inmate Financial

Responsibility Program (IFRP). [Doc. 65].

      The Bureau of Prisons has the authority to place a defendant in the

IFRP based on the wording contained in the criminal judgment. See United

States v. Watkins, 161 F. App’x 337, 337 (4th Cir. 2006); Bramson v. Winn,

136 F. App’x 380, 381 (1st Cir. 2005). Before seeking relief from any court

regarding obligations under the IFRP, a defendant must exhaust all

administrative remedies through the Bureau of Prisons. McGhee v. Clark, 166


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       The Defendant addresses his letter to the Honorable Lacy Thornburg, who
sentenced the Defendant in 2007. Judge Thornburg, however, has since retired from
the bench, and this case has been reassigned to the undersigned.


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F.3d 884, 887 (7th Cir. 1999). Once all administrative remedies have been

exhausted, a defendant may challenge such payments only by filing the

appropriate pleading in the district court located in the district of confinement,

not the sentencing court. See Moore v. Olson, 368 F.3d 757, 759 (7th Cir.

2004); Matheny v. Morrison, 307 F.3d 709, 711-12 (8th Cir. 2002).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to waive

or postpone the restitution payments that he is required to make through the

IFRP [Doc. 65] is DENIED.

      IT IS SO ORDERED.

                                        Signed: April 17, 2012




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